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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
   No.            2:20-cv-07672-ODW (MAAx)                                  Date   September 22, 2020
   Title          TikTok Inc. et al. v. U.S. Department of Commerce et al.



   Present: The Honorable        Otis D. Wright, II, United States District Judge
                Sheila English                              Not reported                           N/A
                 Deputy Clerk                       Court Reporter / Recorder                    Tape No.
            Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Not present                                             Not present
   Proceedings:                                 In Chambers

         Pursuant to Plaintiffs’ Notice of Voluntary Dismissal and FRCP 41(a)(1):

         IT IS HEREBY ORDERED that:

         1.     The entire action and all claims asserted therein are hereby DISMISSED without
                prejudice; and

         2.     All dates and deadlines in this action are VACATED and taken off calendar.

         The Clerk of the Court shall close this case.

         IT IS SO ORDERED.

                                                                                       :    00
                                                     Initials of Preparer   SE




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